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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
                             Criminal No. 21-173(1) (PJS-DTS)




UNITED STATES OF AMERICA,

                             Plaintiff,                               NOTICE OF APPEAL
vs.

ANTON JOSEPH LAZZARO,

                             Defendant.


       Please take notice, that the Defendant, Anton Joseph Lazzaro, hereby gives notice of appeal

to the United States Court of Appeals for the Eighth Circuit from the Court’s Order (ECF No. 76)

entered on November 2, 2021, by the Honorable Patrick J. Schiltz.




                                            Respectfully submitted,

                                            WILSON & CLAS

Dated: 11/15/2021                           /s/ Charles S. Clas, Jr.
                                            Charles S. Clas, Jr., esq.
                                            Attorney ID No.: 396427
                                            Wilson & Clas
                                            201 Sixth Street Southeast, Suite 210
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                                            (612) 760-4048
                                            cclas@wilsoncd.com
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                                       Certificate of Service

       I hereby certify that I electronically filed the foregoing with the Clerk of the Court for the

United States District Court for the District of Minnesota by using the CM/ECF system this 15th

day of November 2021, and that all participants in the case will be served in accordance with the

Federal Rules of Criminal Procedure.




Dated: 11/15/2021                                           /s/ Charles S. Clas, Jr.
                                                            Charles S. Clas, Jr.
